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 5
     Attorney for Defendant
 6   CHARLES HEAD
 7
 8
                              IN THE UNITED STATES DISTRICT COURT
 9
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                      )
                                                    )
12                          Plaintiff,              )       Case No.: Cr. S-08-093 KJM
                                                    )                 Cr. S-08-116 KJM
13                  v.                              )
                                                    )       STIPULATION AND
14                                                  )       ORDER RE: MODIFICATION OF
                                                    )       CONDITIONS OF SUPERVISED
15   CHARLES HEAD, et al.,                          )       RELEASE FOR CHARLES HEAD
                                                    )
16                          Defendants.             )
                                                    )
17
18          The United States of America, through Assistant U.S. Attorney Matthew C. Stegman, and
19   defendant Charles Head, through his counsel Scott L. Tedmon, hereby stipulate as follows:
20          1. On May 5, 2010, defendant Charles Head was ordered released by then-Magistrate Judge
21   Kimberly J. Mueller on bond totaling $313,000. Mr. Head was released to the third-party custody
22   of his father, Charles Head, Sr., and his step-mother, Georgetta Head, who lives in Pittsburgh,
23   Pennsylvania. In addition to the third-party custody provision, the Court imposed a condition to
24   include home confinement with electronic monitoring and a GPS tracking device along with curfew
25   as directed by Pretrial Services. As an additional related condition, the Court imposed a travel
26   restriction which stated that when Mr. Head travels on a direct flight, he is to be accompanied to the
27   airport security checkpoint by either his defense counsel or his third-party custodian. This condition
28   went on to state that if Mr. Head travels on a non-direct flight, Mr. Head is to be personally

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 1   accompanied by either defense counsel or the third-party custodian throughout the duration of the
 2   flight.
 3             2. Upon his release, Mr. Head traveled to Pittsburgh, Pennsylvania, where he resides with
 4   his father and step-mother, who are the third-party custodians.     Pretrial Services Officer John
 5   Kuklar, who is supervising Mr. Head in Pittsburgh, reports that over the past eleven months, Mr.
 6   Head has complied with his pretrial release conditions, and has secured full-time employment with
 7   Home Healthcare Group, Inc., located in Pittsburgh, Pennsylvania. Pretrial Services Officer Kuklar
 8   also reports that Mr. Head has been compliant in his supervision and has been reporting to Pretrial
 9   Services. In light of Mr. Head’s performance over the past eleven months, Pretrial Services Officer
10   Kuklar and Pretrial Services Officer Gina Faubion, who is in charge of Mr. Head’s case in
11   Sacramento, agree it is no longer necessary to continue Mr. Head on home confinement, which
12   includes electronic monitoring, GPS tracking and a curfew, or continue the air travel restrictions
13   which require defense counsel or the third-party custodian to travel with Mr. Head. As such, both
14   Mr. Kuklar and Ms. Faubion request that conditions 4 and 14 of the Mr. Head’s Amended Special
15   Conditions dated May 4, 2010 be removed.
16             3. Mr. Kuklar and Ms. Faubion request that all other conditions remain in full force and
17   effect, with the exception that condition 1 of Mr. Head’s Amended Special Conditions dated May
18   4, 2010 be modified to require that Mr. Head report in person to his Pretrial Services Officer on a
19   weekly basis as directed by the Pretrial Services Agency. The parties have attached a copy of
20   Pretrial Services proposed Second Amended Special Conditions of Release for the Court’s review.
21             4. Defense counsel Scott L. Tedmon has reviewed all 13 conditions of Pretrial Services
22   proposed Second Amended Special Conditions of Release with Mr. Head. Mr. Tedmon reports that
23   Mr. Head understands, accepts, and agrees to abide by each and every proposed condition contained
24   therein.
25             5. Based on the foregoing, Pretrial Services Officers Gina Faubion and John Kuklar,
26   Assistant United States Attorney Matthew C. Stegman on behalf of the government, and Scott L.
27   Tedmon on behalf of defendant Charles Head, jointly agree and stipulate to this request for
28   modification of the conditions of pretrial release for defendant Charles Head. Further, all parties

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 1   confirm they have reviewed the attached Second Amended Special Conditions of Release and agree
 2   to all 13 conditions contained therein.
 3   IT IS SO STIPULATED.
 4   DATED: March 28, 2011                        BENJAMIN B. WAGNER
                                                  United States Attorney
 5
                                                  /s/ Matthew C. Stegman
 6                                                MATTHEW C. STEGMAN
                                                  Assistant U.S. Attorney
 7
     DATED: March 28, 2011                        LAW OFFICES OF SCOTT L. TEDMON
 8
                                                  /s/ Scott L. Tedmon
 9                                                SCOTT L. TEDMON
                                                  Attorney for Defendant Charles Head
10
11                                               ORDER
12          GOOD CAUSE APPEARING and based upon the above stipulation, IT IS HEREBY
13   ORDERED that:
14          1. The request for modification of the Special Conditions of Release for defendant Charles
15   Head is GRANTED.
16          2. The attached Second Amended Special Conditions of Release are adopted by this Court
17   and are ordered filed. The Second Amended Special Conditions of Release supersede all previous
18   conditions of release for defendant Charles Head and are effective immediately.
19          3. A copy of this Order, along with the attached Second Amended Special Conditions of
20   Release is to be provided to defendant Charles Head. Pretrial Services Officer John Kuklar shall
21   personally review this Order and the Second Amended Special Conditions of Release with Mr. Head,
22   and then secure Mr. Head’s signature confirming that Mr. Head understands each condition, accepts
23   each condition, and agrees to abide by each condition.
24   IT IS SO ORDERED.
25
26   DATED: March 29 , 2011                       /s/ Gregory G. Hollows
                                                  UNITED STATES MAGISTRATE JUDGE
27
28

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